     Case: 1:22-cr-00323 Document #: 52 Filed: 02/07/23 Page 1 of 1 PageID #:200

                      UNITED STATES DISTRICT COURT
             FOR THE Northern District of Illinois − CM/ECF NextGen 1.6.3
                                 Eastern Division

UNITED STATES OF AMERICA
                                          Plaintiff,
v.                                                        Case No.: 1:22−cr−00323
                                                          Honorable Steven C. Seeger
Thomas Pavey, et al.
                                          Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, February 7, 2023:


        MINUTE entry before the Honorable Gabriel A. Fuentes as to Raheim Hamilton:
Motion hearing held on defendant Hamilton's motion for pretrial release (doc. #[37]). For
the reasons stated on the record, the defendant's motion is denied. Enter Order of
Detention. Mailed notice. (lxk, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

For scheduled events, motion practices, recent opinions and other information, visit our
web site at www.ilnd.uscourts.gov.
